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                          UNITED STA TES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

 In Re: AUTOMOTIVE PARTS                               2: 12-md-02311-SFC-RS W
 ANTITRUST LITIGATION                                  Honorable Sean F. Cox


In Re: Fuel Injection Systems                          Case No. 2: 13-cv-02205
In Re: Steel Tubes                                     Case No. 2: 16-cv-04005



 THIS RELATES TO:
 State Attorneys General

 STATE OF CALIFORNIA,                                 Case No. 2:21-cv-11382
 ex rel. Rob Bonta,
 Attorney General of the State of California          Complaint for Damages, Civil Penalties,
                                                      and Injunctive Relief
              Plaintiffs,                             Demand for Jury Trial
       v.

 Maruyasu Industries Co., Ltd. and
 Curtis-Maruyasu America, Inc.
               Defendants.



       The State of California, through Rob Bonta, the Attorney General, in his official capacity

as the chief law enforcement officer of the State of California, files this complaint against

Maruyasu Industries Co., Ltd., ("Maruyasu") and Curtis-Maruyasu America, Inc. ("CMA")

(collectively, "Defendants"), and alleges:


                                     NATURE OF ACTION


   1. Defendant Maruyasu and its co-conspirators conspired to suppress and eliminate

       competition by agreeing to rig bids for, and to fix, stabilize, and maintain the price of


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   Fuel Injection Systems and Automotive Steel Tubes (the "Named Parts"). Defendant

   Curtis-Maruyasu is a subsidiary of Defendant Maruyasu and participated in the

   conspiracy to suppress and eliminate competition as to Automotive Steel Tubes. For

   purposes of the allegations in this Complaint, allegations as to Automotive Steel Tubes

   are made as to both Defendants Maruyasu and Curtis Maruyasu and allegations as to Fuel

   Injection Systems are made as to Defendant Maruyasu only. These price-fixed parts were

   installed in automobiles purchased by Plaintiffs.

2. For the duration of the conspiracies, from at least as early as December 2003 and

   continuing until at least as late as July 2011, the exact dates being unknown to Plaintiffs,

   Defendants' actions resulted in fixing, stabilizing, and maintaining prices for the Named

   Parts. Due to Defendants' unlawful conduct, the State of California and its state agencies

   were deprived of open and fair competition when purchasing the Named Parts and paid

   higher-than-competitive prices for such parts and for automobiles installed with them.

3. Competition authorities in the United States, the European Union, and Japan have been

   investigating a number of conspiracies involving automotive parts since at least February

   2010. On May 3151, 2018, the United States Department of Justice announced that

   Maruyasu Industries Co. Ltd. pleaded guilty and agreed to pay a criminal fine of $12

   million for its role in a conspiracy to rig bids for, and to fix , stabilize, and maintain the

   prices of Steel Tubes.

4. Defendants and their co-conspirators affected millions of dollars of commerce. The State

   of California, California businesses, and consumers suffered antitrust injury to their

   business or property due to Defendants' conspiracies to suppress and eliminate




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    competition by agreeing to rig bids for, and to fix, stabilize, and maintain prices and

    artificially inflate prices for the Named Parts during the duration of the conspiracies.


                              JURISDICTION AND VENUE


5. Plaintiffs bring this action to secure damages, permanent injunctive relief, civil penalties,

    and reasonable attorneys' fees pursuant to Section 4 (15 U.S.C. § 15) and Section 16 of

    the Clayton Act (15 U.S.C. §26) for violations of Section 1 of the Sherman Act (15

    U.S .C. §1), as well as sections 16720 and 17200 et seq. of the California Business and

    Professions Code.

 6. This Court has original jurisdiction over the subject matter of all causes of action alleged

    in this Complaint pursuant to 28 U.S .C. §§ 1331 and 1337. This Court has subject matter

    jurisdiction over the state law claims pursuant to 28 U.S .C. § 1367 because Plaintiffs'

    state law claims are so related to the federal question claims that they form part of the

    same case or controversy that would ordinarily be tried in one judicial proceeding.

7. Venue is proper in the United States District Court, Eastern District of Michigan,

    pursuant to Section 12 of the Clayton Act (15 U.S.C. § 22), and 28 U.S.C. § 1391.

    Defendants transact business in the United States, including in this district, committed an

    illegal act, or are found in this district, and a substantial part of the events giving rise to

    the claims arose in this district.


                                           PARTIES


                                           Plaintiffs


8. The State of California is authorized to file Count I under 15 U.S.C. §§ 15 and 26 to

    enjoin Defendants from the violations alleged herein.

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9. The Attorney General brings this action on behalf of the Plaintiffs the State of California,

    including California state agencies, for damages, civil penalties, injunctive, and equitable

    relief.

10. The Attorney General of California is the chief legal officer of the State of California and

    the enforcement authority of sections 16720 and 17200 et seq. of the California Business

    and Professions Code, and is authorized to file Counts II, III, and IV. As California's

    chief law enforcement officer, the Attorney General enforces California' s antitrust laws,

    including the Cartwright Act. Cal. Bus. & Prof. Code§§ 16700 - 16770. The Attorney

    General is specifically authorized to obtain injunctive and other equitable relief,

    restitution, and civil penalties to redress unfair, unlawful, and fraudulent business

    practices. See Cal. Bus. & Prof. Code §§ 17203, 17204, 17206.


                                        Defendants


 11. Defendant Maruyasu Industries Co., Ltd. is a Japanese corporation with its principal

    place of business in Nagoya, Aichi Prefecture, Japan. Defendant Curtis-Maruyasu

    America, Inc. is an Indiana corporation with its principal place of business in Lebanon,

    Kentucky.


                               Co-Conspirators and Agents


12. Various persons, partnerships, sole proprietors, firms, corporations and individuals not

    named as defendants in this lawsuit, and individuals, the identities of whom are presently

    unknown, have participated as co-conspirators with the Defendants in the offenses

    alleged in this Complaint, and have performed acts and made statements in furtherance of

    the conspiracies or in furtherance of the anticompetitive conduct.


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13 . Plaintiffs reserve the right to name some or all of the persons or entities who acted as co-

    conspirators with Defendants in the alleged offenses as Defendants.

14. Any reference in this Complaint to any act, deed, or transaction by a corporation means

    that the corporation engaged in the act, deed, or transaction by or through its officers,

    directors, agents, employees, or representatives while they were actively engaged in the

    management, direction, control, or transaction of the corporation' s business or affairs .

 15. Defendants are also liable for acts of companies they acquired through mergers or

    acquisitions which are done in furtherance of the alleged conspiracies.

 16. Defendants named herein acted as the agent or joint venture of or for the other co-

    conspirators with respect to the acts, violations, and common course of conduct alleged

    herein.


                               FACTUAL ALLEGATIONS


 17. Defendant Maruyasu engaged in the business of manufacturing and selling Fuel Injection

    Systems to automobile manufacturers for installation in vehicles manufactured and sold

    in the United States and elsewhere. Fuel Injection Systems admit fuel or a .fuel/air

    mixture into engine cylinders and may include injectors, high pressure pumps, rail

    assemblies, feed lines, electronic throttle bodies, airflow meters, engine electronic control

    units, fuel pumps, fuel pump modules, manifold absolute pressure sensors, pressure

    regulators, pulsation dampers, purge control valves and other components sold as a

    unitary system. In some instances, the component parts of a Fuel Injection System are

    sourced separately while in other instances they are sourced together. Fuel Injection

    Systems can also be sold as part of a broader system, such as an engine management

    system. Fuel Injection Systems are part of the powertrain segment of the automotive

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   market. The Fuel Injection System is responsible for injection timing, atomization, and

   injection quality of the fuel supplied to the engine.

18. Defendants Maruyasu and CMA engaged in the business of manufacturing and selling

   Automotive Steel Tubes to automobile manufacturers for installation in vehicles

   manufactured and sold in the United States and elsewhere. An "Automotive Steel Tube"

   is used in fuel distribution, braking, and other automotive systems. Automotive Steel

   Tubes are sometimes divided into two categories: chassis tubes and engine parts. Chassis

   tubes, such as brake and fuel tubes, tend to be located in the body of a vehicle, while

   engine parts, such as fuel injection rails, oil level tubes, and oil strainer tubes, are

   associated with the function of a vehicle's engine.

19. Fuel Injection Systems and Automotive Steel Tubes are installed by original equipment

   manufacturers ("OEMs") in vehicles as part of the automotive manufacturing process.

20. For vehicles, the OEMs - mostly large automotive manufacturers. - purchase the Named

   Parts directly from Defendants. The Named Parts may also be purchased by component

   manufacturers who then supply such systems to OEMs. These component manufacturers

   are also called "Tier 1 Manufacturers" in the industry. Tier 1 Manufacturers supply the

   Named Parts directly to an OEM.

21. During the period of conspiracies, Defendants and their co-conspirators manufactured the

   Named Parts (a) in the United States for installation in vehicles manufactured and sold in

   the United States, (b) in Japan and elsewhere for export to the United States and

   installation in vehicles manufactured and sold in the United States, and/or (c) in Japan for

   installation in vehicles manufactured in Japan for export to and sale in the United States.




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22. Automobile manufacturers issue Requests for Quotation ("RFQs") to automotive parts

   suppliers on a model-by-model basis when they purchase the Named Parts. Automotive

   parts suppliers, including Defendants, submit quotations to automobile manufacturers in

   response to RFQs. The winning bidder supplies parts to the automobile manufacturers

   for the lifespan of the car model, usually lasting four to six years. The bidding process

   for a certain car model starts approximately three years prior to the start of production.

23. Defendants have sold the Named Parts to multiple automobile manufacturers which

   installed them in automobiles made or sold in the United States and elsewhere.


                 Structural Characteristics of the Automotive Parts Market


24. The structural characteristics of the automotive parts market are conducive to a price-

   fixing agreement, and have made collusion particularly attractive in this market. These

   characteristics include high barriers to entry and inelastic demand.

25. There are substantial barriers to entry in the markets for the Named Parts. It would

   require substantial initial costs associated with manufacturing plants and equipment,

   energy, transportation, distribution infrastructure, skilled labor, and long standing

   relationships with customers. These costs are considered high barriers to entry thereby

   making market entry more difficult if not altogether precluding it.

26. Due to high barriers to entry, incumbent firms have incentive to collude and keep supra-

   competitive prices. High barriers to entry also facilitate the maintenance of collusion

   since incumbents do not face the risk of new entrants engaging in price competition.

27. "Elasticity" is a term used in economics to describe the sensitivity of supply and demand

   to changes in the price. Demand for a certain product is "inelastic" when an increase in

   price of the product creates only a small change in the quantity demanded of that product.

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   Consumers of the product whose demand is inelastic would continue to buy it despite a

   pnce mcrease.

28. When customers are not sensitive to a price increase, a cartel can increase price and

   maintain relatively level sales volume. Thus, it could continue to keep supra-competitive

   prices with relatively stable demand and increase profit.


                                 Government Investigations


29. The United States Department of Justice ("Department of Justice"), as well as authorities

   in the European Union and Japan, started global, industry-wide investigations into

   possible violations of the antitrust laws in the auto parts industry in 2010. The complete

   scope of the investigations is unknown.

30. The Department of Justice publicly announced aspects of the investigation when FBI

   agents raided the offices and factories of suspected companies. Since the raids, the

   investigation has continued to this date. So far 46 companies have been convicted and

   collective fines total more than $2.9 billion.

31. On May 31, 2018, the Department of Justice announced that Maruyasu entered into a plea

   agreement pursuant to which it was sentenced to pay a $12 million criminal fine for its

   role in a criminal conspiracy to fix prices, rig bids, and allocate customers for

   Automotive Steel Tubes incorporated into vehicles sold in the United States and

   elsewhere. According to the plea agreement, Maruyasu participated in a conspiracy to

   suppress and eliminate competition by agreeing to rig bids for certain automotive steel

   tube engine parts sold to an automobile manufacturer in Japan and incorporated into

   vehicles sold in the United States in violation of the Sherman Act.




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                                    Trade and Commerce


32. During the period of conspiracies, Defendants and their co-conspirators sold the Named

   Parts to automobile manufacturers located in various states in the United States in a

   continuous and uninterrupted flow of interstate and foreign trade and commerce. In

   addition, equipment and supplies necessary to the production and distribution of the

   Named Parts sold by Defendants and their co-conspirators, as well as payments for such

   parts sold by Defendants and their co-conspirators, traveled in interstate and foreign trade

   and commerce.

33 . Plaintiffs purchased a substantial volume of automobiles and trucks. A substantial

   volume of vehicles containing the Named Parts manufactured by Defendants and their

   co-conspirators were sold to California state agencies, California businesses, and

   California consumers.

34. The anticompetitive act was intentionally directed at the United States markets for the

   Named Parts because Defendants and their co-conspirators intentionally sold them to

   automobile manufacturers which in tum sold vehicles in the United States and in the

   State of California. The business activities of Defendants and their co-conspirators in

   connection with the production and sale of the Named Parts that were the subject of these

   conspiracies were within the flow of, and substantially affected, interstate and foreign

   trade and commerce.


                     The Pass-Through of Overcharges to Consumers


3 5. Defendants and their co-conspirators' conspiracies to fix, stabilize, and maintain the

   prices of the Named Parts at artificial levels resulted in harm to Plaintiffs because they



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    resulted in Plaintiffs paying higher prices for such parts and automobiles installed with

    them than they would have paid in the absence of the conspiracies. The entire overcharge

    at issue was passed onto the State of California.


                                   Fraudulent Concealment


 36. Throughout the period of conspiracies, Defendants and their co-conspirators affirmatively

    and fraudulently concealed their unlawful conduct from Plaintiffs.

 37. Even though Plaintiffs exercised reasonable diligence, they could not discover the

    violations of law alleged in this Complaint until long after the commencement of their

    conspiracies.

 38. The Department of Justice began investigation into conspiracies in the auto part industry

    as early as 2010, but the complete scope of products and companies involved in the

    conspiracies has not been disclosed to the public yet.

 39. Defendants and their co-conspirators successfully and affirmatively concealed the nature

    of their conspiracies and unlawful conduct in furtherance of the conspiracies in at least

    the following respects:

        a. By agreeing among themselves to meet at locations where the conspiracies were

            less likely to be detected;

        b. By agreeing among themselves to engage in illegal bid-rigging and price-fixing

            conspiracies, which is by its nature self-concealing; and

        c. By agreeing among themselves to keep the existence of the conspiracies secret,

            including the usage of secret code names.




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 40. Defendants' and their co-conspirators' effective, affirmative, and fraudulent concealment

    effectively prevented timely detection by Plaintiffs, and was a substantial factor in

    causing Plaintiffs' harm.


                                             Injury


 41. But for Defendants and their co-conspirators' anticompetitive acts, Plaintiffs would have

    been able to purchase automobiles that incorporated the Named Parts at lower prices or at

    prices that were determined by free and open competition.

 42. Defendants and their co-conspirators' unlawful activities took place within interstate and

    foreign trade and commerce, and had direct, substantial, and reasonably foreseeable

    effect on United States and California commerce.

 43. As a direct and proximate result of the unlawful conduct alleged in this Complaint,

    Plaintiffs were not able to purchase the Named Parts and automobiles installed with them

    at prices that were determined by free and open competition. Consequently, Plaintiffs

    have been injured because they paid more than they would have paid in a free and open

    competitive market. There is a domestic injury that is concrete, quantifiable, and directly

    traceable back to the Defendants' and their co-conspirators' anticompetitive conduct.

 44. As Plaintiffs paid more than what they would have paid absent the conspiracies,

    Defendants and their co-conspirators' conduct has resulted in dead weight loss to the

    economy of the State of California, including reduced output, higher prices, and

    reduction in consumer welfare.

 45. As a direct and proximate result of the unlawful conduct alleged in this Complaint,

    Defendants and their co-conspirators benefitted unjustly from the supra-competitive and



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    artificially inflated prices. The unjust financial profits on the sale of the Named Parts

    resulted from their illegal and anticompetitive conduct.


                                VIOLATIONS ALLEGED

                                           Count I

                         (Violation of Section 1 of the Sherman Act)

 46. Plaintiffs incorporate by reference and allege as if fully set forth herein, each and every

    allegation set forth in the preceding paragraphs of this Complaint with the same meaning,

    force, and effect.

 47. Defendants and their co-conspirators engaged in conspiracies which unreasonably

    restrained the trade or commerce among the several States and with foreign nations; thus,

    their conduct violates Section 1 of the Sherman Act (15 U.S.C. §1). The State of

     California is entitled to relief resulting from the Defendants' conduct.

 48. Defendant and their co-conspirators entered into continuing agreements, understandings,

    and conspiracies to raise, fix, maintain, and stabilize prices charged for the Named Parts

    during the period of conspiracies.

 49. Their unlawful conduct in furtherance of the conspiracies was intentionally directed at the

    United States markets for the Named Parts and had a substantial and foreseeable effect on

    interstate commerce by raising and fixing prices of such parts in the United States.

 50. The State of California has been injured by being forced to pay artificially inflated prices

    for the Named Parts and automobiles installed with such parts than they would have paid

    in the absence of the conspiracies.




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 51 . As a direct and proximate result of Defendants' conduct, Plaintiffs have been harmed and

    will continue to be damaged by being forced to pay supra-competitive prices that they

    would not have paid in the absence of the Defendants' conduct.

 52. The alleged contracts, combinations, or conspiracies are per se violations of the federal

    antitrust laws.

 53. Unless permanently restrained and enjoined, Defendants will continue to unreasonably

    restrain fair and open competition for the Named Parts. Plaintiffs are entitled to an

    injunction against Defendants to prevent and restrain the violations alleged herein.


                                           Count II


    (Violation of the Cartwright Act, Business & Professions Code Section 16720)


 54. Plaintiffs incorporate by reference and allege as if fully set forth herein, each and every

    allegation set forth in the preceding paragraphs of this Complaint with the same meaning,

    force, and effect.

 55 . From at least as early as December 2003 and continuing until at least as late as July 2011 ,

    the exact dates being unknown to Plaintiffs, Defendants and their co-conspirators entered

    into and engaged in continuing unlawful trusts for the purpose of unreasonably

    restraining trade in violation of California Business and Professions Code section 16720.

 56 . Defendants and their co-conspirators violated California Business and Professions Code

    section 16720 by forming continuing unlawful trusts and arranging a concerted action

    among Defendants and their co-conspirators in order to fix, raise, maintain and stabilize

    prices of the Named Parts.




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 57. In furtherance of the goals of the conspiracies, Defendants and their co-conspirators

    conspired to :

          a. fix, raise, maintain, and stabilize the prices of the Named Parts;

          b. submit rigged bids for the award of Named Parts contracts for automobile

               manufacturers; and

          c. allocate markets for the Named Parts amongst themselves.

 58. The combinations and conspiracies alleged herein have had, inter alia, the following

    effects:

          a. price competition in the sale of the Named Parts has been restrained,

               suppressed, and/or eliminated in the State of California;

          b. prices for the Named Parts sold by Defendants and their co-conspirators have

               been fixed, raised, maintained, and stabilized at artificially high and non-

               competitive levels in the State of California; and

          c. Plaintiffs who purchased automobiles installed with price-fixed Named Parts

               have been deprived of the benefit of free and open competition.

 59. As a direct and proximate result of Defendants' and their co-conspirators' unlawful

    conduct, Plaintiffs were injured in their business and property because they paid more for

    the Named Parts and automobiles installed with such price-fixed parts than they would

    have paid in the absence of Defendants ' and their co-conspirators' unlawful conduct. As

    a result of Defendants' and their co-conspirators' violation of section 16720 of the

    California Business and Professions Code, Plaintiffs bring this claim pursuant to section

    16750(c) and seek treble damages and the costs of suit, including reasonable attorneys'

    fees , pursuant to section 16750(a) of the California Business and Professions Code. The



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     California Attorney General is entitled to fines and civil penalties to the maximum extent

     permitted by law under California Business and Professions Code section 16755. The

     California Attorney General may also obtain injunctive relief under California Business

     and Professions Code section 16754.5 .


                                           Count III


(Violation of the Unfair Competition Law, Business and Professions Code Section 17200)


  60. Plaintiffs incorporate by reference and allege as if fully set forth herein, each and every

     allegation set forth in the preceding paragraphs of this Complaint with the same meaning,

     force, and effect.

  61. From at least as early as December 2003 and continuing until at least as late as July 2011,

     the exact dates being unknown to Plaintiffs, Defendants and their co-conspirators

     committed acts of unfair competition, as defined by section 17200, et seq. , of the

     California Business and Professions Code.

  62. The acts, omissions, misrepresentations, practices, and non-disclosures of Defendants and

     their co-conspirators, as alleged herein, constituted a common continuing conduct of

     unfair competition including unfair, unlawful and fraudulent business practices within the

     meaning of section 17200, et seq., of the California Business and Professions Code,

     including, but not limited to, the following:

           a. The violations of section 16720, et seq., of the California Business and

               Professions Code, set forth above, thus constitute unlawful acts within the

               meaning of section 17200 of the California Business and Professions Code;




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          b. Defendants' acts, omissions, misrepresentations, practices, and nondisclosures,

              as described above, whether or not in violation of section 16720, et seq., of the

              California Business and Professions Code, and whether or not concerted or

              independent acts, are otherwise unfair, unconscionable, unlawful, or fraudulent;

          c. Defendants' acts and practices are unfair to consumers of the Named Parts and

              of automobiles installed with price-fixed parts in the State of California, within

              the meaning of section 17200 of the California Business and Professions Code;

          d. Defendants' acts and practices are fraudulent or deceptive within the meaning of

              section 17200 of the California Business and Professions Code; and

          e. Defendants' actions to solicit others to join the conspiracies to suppress and

              eliminate competition by agreeing to rig bids for, and to fix, stabilize, and

              maintain prices and/or artificially inflate prices for the Named Parts, whether

              successful or not, are unfair business practices within the meaning of section

              17200, et seq., of the California Business and Professions Code.

 63 . The unlawful and unfair business practices of Defendants and their co-conspirators

    caused Plaintiffs to pay supra-competitive and artificially inflated prices for the Named

    Parts and automobiles installed with such parts. Plaintiffs were injured in thei_r business

    and property because they paid more than they would have paid in the absence of

    Defendants' and their co-conspirators' unlawful conduct.

 64. The California Attorney General is entitled to recover civil penalties for the violations

    alleged in this Complaint not to exceed $2,500 for each violation of California Business

    and Professions Code section 17206.


                                          Count IV


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                                     Unjust Enrichment


 65. Plaintiffs incorporate by reference and allege as if fully set forth herein, each and every

    allegation set forth in the preceding paragraphs of this Complaint with the same meaning,

    force, and effect.

 66. Plaintiffs were deprived of economic benefit because Defendants' and their co-

    conspirators' anticompetitive conduct created supra-competitive and artificially inflated

     prices for the Named Parts.

 67. Defendants and their co-conspirators enjoyed unjust financial profits which were derived

    from unlawful overcharges and monopoly profits. Their financial profits are

    economically traceable to overpayments for the Named Parts by Plaintiffs.

 68. The supra-competitive and artificially inflated prices for the Named Parts, and unlawful

    monopoly profits enjoyed by Defendants and their co-conspirators are a direct and

    proximate result of Defendants' and their co-conspirators' unlawful practices.

 69. It would lead to injustice if Defendants and their co-conspirators could retain any of the

    unlawful financial profits that are a direct and proximate result of their engagement in

    unlawful, unfair, and fraudulent conduct.

 70. As alleged in this Complaint, Defendants and their co-conspirators have been unjustly

    enriched as a result of their wrongful conduct and by Defendants' and their co-

    conspirators' unfair competition. Plaintiffs are accordingly entitled to equitable relief

    including restitution and/or disgorgement of all revenues, earnings, profits, compensation

    and benefits which may have been obtained by Defendants' and their co-conspirators'

    engagement in unlawful, unfair, and fraudulent conduct.




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 71. As alleged in this Complaint, Defendants and their co-conspirators have been unjustly

    enriched as a result of their unlawful and anticompetitive conduct. Under sections 17203

    and 17204 of the California Business and Professions Code, Plaintiffs are accordingly

    entitled to an injunction against Defendant in order to restrain the violations alleged

    herein and to equitable relief which includes restitution of any money or property which

    may have been acquired by means of Defendants' and their co-conspirators ' unfair and

    anticompetitive conduct. Plaintiffs are also entitled to civil penalties to the maximum

    extent permitted by law pursuant to section 17206, et seq., of the California Business and

    Professions Code.


                                      Prayer for Relief


 72. Accordingly, Plaintiffs request that this Court:

          a. Adjudge and decree that Defendants violated the Sherman Act (15 U.S.C. §1);

          b. Adjudge and decree that Defendants ' contracts, conspiracies, or combinations

              constitute illegal and unreasonable restraints of trade in violation of the

              Cartwright Act, section 16720, et seq., of the California Business and

              Professions Code;

          c. Adjudge and decree that Defendants' contracts, conspiracies, or combinations

              violate the Unfair Competition Law, section 17200, et seq., of the California

              Business and Professions Code;

          d. Award to Plaintiffs the maximum amount permitted under the relevant federal

              antitrust law;

          e. Award to Plaintiffs damages, trebled, in an amount according to proof pursuant

              to section 16750, et seq., of the California Business and Professions Code;

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        f.   Award to Plaintiffs the deadweight loss (i.e. the general damage to the economy

             of the State of California) resulting from Defendants' illegal activities;

        g. Award to Plaintiffs restitution, including disgorgement of profits obtained by

             Defendant as a result of their acts of unjust enrichment, or any acts in violation

             of federal and state antitrust or consumer protection statutes and laws, including

             section 17200, et seq., of the California Business and Professions Code;

        h. Award to Plaintiffs pre- and post-judgment interest, and that the interest be

             awarded at the highest legal rate from and after the date of service of the initial

             complaint in this action;

        1.   Award Plaintiffs the maximum civil penalties under section 17206 of the

             California Business and Professions Code for each violation of California

             Business and Professions Code section 17200, et seq., as set forth in this

             Complaint;

        J.   Award Plaintiffs the maximum fines and civil penalties under section 16755 of

             the California Business and Professions Code for each violation of California

             Business and Professions Code section 16720, et seq., as set forth in this

             Complaint;

        k. Enjoin and restrain, pursuant to federal and state law, Defendants, their

             affiliates, assignees, subsidiaries, successors, and transferees, and their officers,

             directors, partners, agents and employees, and all other persons acting or .

             claiming to act on their behalf or in concert with them, from continuing to

             engage in any anticompetitive conduct and from adopting in the future any




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                practice, plan, program, or device having a similar purpose or effect to the

                anticompetitive actions set forth above;

            1. Award to Plaintiffs their costs, including reasonable attorneys' fees; and

            m. Order other legal and equitable relief as it may deem just and proper, including

                such other relief as the Court may deem just and proper to redress, and prevent

                recurrence of, the alleged violations in order to dissipate the anticompetitive

                effects of Defendants' violations, and to restore competition.

                                       Jury Trial Demanded


  73. Plaintiffs demand trial by jury for all causes of action, claims, ·or issues in this action

      which are triable as a matter of right to a jury.

Dated: June 11 , 2021                                     RoBBONTA
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